Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 1 of 7 PageID #: 1400



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION

 PERCY TWAIN BARBER and MARIA
 BARBER,

               Plaintiffs,
 v.
                                                        CIVIL ACTION NO. 1:21-CV-00539
                                                         JUDGE MICHAEL J. TRUNCALE
 LAW OFFICES OF THOMAS J.
 BURBANK and THOMAS J. BURBANK
               Defe dants.


                                    JURY VERDICT FORM

                                          QUESTION 1

          Did Plaintiffs prove by the preponderance of the evidence that Thomas Burbank is a debt
  collector?

         Thomas Burbank is a debt collector if the principal purpose of his business is the
  enforcement of security interests, which includes non-judicial foreclosures.

  Answer Yes or “No.


         Answer: J\/ 0
Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 2 of 7 PageID #: 1401



  If you answered No to both Question 1 and Question 2, do not answer the remaining
  questions.
                                          QUESTION 3

         Did Plaintiffs prove by the preponderance of the evidence that Thomas Burbank took action
  to conduct a non-judicial foreclosure of their property when they were not in default on their
  mortgage?

  Answer Yes or “No.


         Answer:




                                                 3
Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 3 of 7 PageID #: 1402



                                             QUESTION 4

         Did Plaintiffs prove by the preponderance of the evidence that Thomas Burbank took action
  to conduct a non-judicial foreclosure of their property without providing them proper notice?

           Thomas Burbank provided Plaintiffs with proper notice if, at least 21 days before the date
  of the sale, he served written notice of the sale by certified mail on each Plaintiff by depositing the
  certified mail in the United States mail, with postage prepaid, and addressed to the Plaintiffs at
  their last known address.

  Answer Yes or No.


         Answer:




                                                    4
Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 4 of 7 PageID #: 1403



  Only answer Question 5 if you answered Yes to Question 3 and/or Question 4.

                                           QUESTION 5

          Did Plaintiffs prove by the preponderance of the evidence that Thomas Burbank was acting
  in the course and scope of his employment for, or on behalf of, Law Of ices of Thomas J. Burbank,
  P.O. when he took action to conduct a non-judicial foreclosure of their property?

  Answer “Yes or “No.


         Answer:




                                                 5
Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 5 of 7 PageID #: 1404



  Only answer Question 6 if you answered Yes to Question 3 and/or Question 4.

                                           QUESTION 6

          What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiffs
  for their economic damages, if any, that resulted from the actions that Thomas Burbank took to
  conduct a non-judicial foreclosure of their property?

  Answer, in dollars and cents, for economic damages, if any.

         Answer: $




                                                  6
Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 6 of 7 PageID #: 1405



  Only answer Question 7 if you answered Yes to Question 3 and/or Question 4.

                                            QUESTION 7

           What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiffs
  for their mental anguish, if any, that resulted from the actions that Thomas Burbank took to conduct
  a non-judicial foreclosure of their property?

  Answer, in dollars and cents, for mental anguish dama es, if any.

         Answer: $




                                                   7
Case 1:21-cv-00539-MJT-CLS Document 148 Filed 08/08/23 Page 7 of 7 PageID #: 1406



  Our verdict is unanimous. All of us have agreed to each and every answer. The presidin
  juror has signed the certificate for all of us as set forth below.




   Date J




                                             8
